** STATE TRAVEL REIMBURSEMENT — DATA PROCESSING TECHNICAL ADVISORY COMMITTEE ** 74 O.S. 500.1 [74-500.1] ET SEQ., KNOWN AS THE STATE TRAVEL REIMBURSEMENT ACT IS APPLICABLE TO THE DATA PROCESSING TECHNICAL ADVISORY COMMITTEE WITH RESPECT TO REIMBURSEMENT AND PER DIEM EXPENDITURES.  CITE: 74 O.S. 118.5 [74-118.5], 74 O.S. 500.1 [74-500.1] (1972) (MARVIN C. EMERSON)